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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

AURELIA MANCILLA,                          Index No. 1:20-cv-01330

                  Plaintiff,

           -against-

ABM INDUSTRIES, INCORPORATED; ABM
INDUSTRIES, INCORPORATED d/b/a ABM
JANITORIAL SERVICES, INC; ABM
INDUSTRIES, INCORPORATED d/b/a ABM
ONSITE SERVICES, INC.; SCOTT SALMIRS;
and EDDIE SANDERS,

                  Defendants.




  MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT ABM’S MOTION TO
       COMPEL ARBITRATION AND DISMISS OR STAY ACTION




                                               Craig R. Benson
                                               Ivie Serioux
                                               Littler Mendelson P.C.
                                               900 Third Avenue – 8th Floor
                                               New York, NY 10022
                                               212.583.9600
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                                PRELIMINARY STATEMENT

       Plaintiff Aurelia Mancilla (“Plaintiff” or “Mancilla”) acknowledged an express, mandatory

arbitration agreement (the “Agreement”) whereby she explicitly agreed to submit all claims against

Defendant ABM Aviation Inc. 1 (“Defendant” or “ABM”) and ABM’s (past, present, and future)

employees and agents, to final and binding arbitration. Notwithstanding her assent, Mancilla filed

the instant action against ABM, Scott Salmirs and Eddie Sanders, asserting claims arising out of

her employment that fall squarely within the purview of the Agreement. Specifically, Plaintiff

alleges harassment and common law claims relating to her employment with ABM.

       The Agreement (attached to the Declaration of Rhonda Rawlins as Exhibit “A” and made

a part hereof by this reference) in Section “A” sets forth:

           “Final and binding arbitration before a single, neutral arbitrator shall be the
           exclusive remedy for any “Covered Claim” … A “Covered Claim” is any
           claim … that arises between [Plaintiff] and [ABM and] its …
           employees …”

Section B sets forth:

           “Arbitration will occur in the county in the United States in which [Plaintiff]
           reside[s] at the time the claim is filed by any of the parties to this agreement
           reside …. The arbitrator shall apply the substantive law (and the laws of
           remedies, if applicable) of the state in which the Covered Claims arose, or
           federal law, or both, as applicable to the Covered Claims …”

       Plaintiff resides in Georgia, worked at ABM’s location in Atlanta, Georgia and all

allegations alleged in her Complaint that gave rise to her causes of action arise out of her

employment in Georgia. There can be no dispute that the Agreement encompasses all claims



1
  Plaintiff has named incorrect parties in this action, as her only employer was ABM Aviation,
Inc., a non-named defendant. Plaintiff was never employed by ABM Industries Incorporated.
Further, ABM Industries Incorporated does not d/b/a either ABM Onsite Services, Inc. or ABM
Janitorial Services, Inc., and, effective January 1, 2017, ABM Janitorial Services, Inc. and ABM
Onsite Services, Inc. were merged out of existence. For purposes of this motion only, ABM is
responding on behalf of the named ABM Defendants and Scott Salmirs.
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asserted in Plaintiff’s Complaint. Furthermore, as set forth below, the Agreement is unambiguous,

mandatory, and enforceable pursuant to New York Law, Georgia Law, and the Federal Arbitration

Act, 9 U.S.C. §§ 1 et seq. (the “FAA”). Under federal law, the existence of an agreement to

arbitrate, such as the clear agreement Plaintiff signed here, mandates that the action be dismissed

and that Plaintiff be compelled to bring her claims in an arbitral forum, at the American Arbitration

Association in Georgia. Accordingly, the Court should compel Plaintiff to submit her claims to

arbitration in Georgia.

                                   STATEMENT OF FACTS

       Plaintiff began her employment with ABM on or about August 31, 2018. (See Declaration

of Rhonda Rawlins (“Rawlins Decl.”) ¶ 4.) Plaintiff was employed as a janitorial worker in ABM’s

Atlanta, Georgia Airport location. (Id.) All of the allegations given rise to the causes of action in

Plaintiff’s Complaint occurred in Atlanta, Georgia. (See Declaration of Craig Benson (“Benson

Decl.)” Ex. A; Complaint (“Cplt.”) ¶ 9.) ABM maintains a Mutual Arbitration Agreement (the

“Agreement”). (See Rawlins Decl. ¶ 3, Ex. A.) On August 31, 2018, at approximately 1 p.m.,

Plaintiff knowingly and voluntarily agreed to abide by the terms of the Arbitration Agreement by

electronically signing the following Mutual Arbitration Agreement Acknowledgment

(“Acknowledgment”):

                          MUTUAL ARBITRATION AGREEMENT

           BY SIGNING THIS AGREEMENT, I KNOWINGLY AND
           VOLUNTARILY WAIVE FOR ANY COVERED CLAIM THE
           RIGHT TO CLASS, REPRESENTATIVE, AND COLLECTIVE
           PROCEDURES AND THE RIGHT TO TRIAL BY JURY OR JUDGE,
           TO THE FULL EXTENT PERMITTED BY APPLICABLE LAW. I
           RETAIN ALL OTHER RIGHTS, INCLUDING MY RIGHT TO
           COUNSEL, TO CALL AND CROSS-EXAMINE WITNESSES, AND
           TO HAVE MY CLAIMS ADDRESSED BY AN IMPARTIAL FACT
           FINDER. I ACKNOWLEDGE THAT I AM HEREBY ADVISED TO
           SEEK LEGAL ADVICE AS TO MY RIGHTS AND
           RESPONSIBILITIES UNDER THIS AGREEMENT AND HAVE



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           AVAILED MYSELF OF THE ADVICE OF COUNSEL TO THE
           EXTENT I WISH TO DO SO.

           I ACKNOWLEDGE THAT I HAVE CAREFULLY READ THIS
           AGREEMENT, AND THAT I UNDERSTAND ITS TERMS.

(See Rawlins Decl. ¶ 5, Ex. B.)

       The actual Arbitration Agreement explains the arbitration process in simple terms. (See

Rawlins Decl., Ex. A.) It clearly defines the procedure for initiating arbitration and selecting an

arbitrator, arbitration fees (which ABM agreed to pay), the scope of the arbitrator’s authority, the

governing procedures by which the arbitration will be conducted, and available remedies. (Id.)

The Agreement’s arbitration procedure is mutual, requiring both Plaintiff and Defendant to

arbitrate their disputes against each other. (Id.) However, in flagrant disregard of this Agreement,

Mancilla filed the instant action against ABM. In fact, at the same time, filed the exact same

claims in state court in Georgia. (see Benson Decl. ¶ 2)

       ABM, through its counsel, requested Plaintiff to withdraw the New York and Georgia

actions, and arbitrate her claims pursuant to the Agreement in a phone conversation and several

emails dated February 4, 10, 11, 12, and 13, 2020. (See Benson Decl. Ex. C.) Plaintiff’s counsel

ultimately responded stating that Defendants would need to make a motion. (Id. at Ex. C.)

Thereafter, they voluntarily dismissed the Georgia matter only.

       Although ABM’s counsel attempted to resolve this issue informally, Plaintiff’s refusal to

honor her contractual obligation under the Agreement has left ABM with no choice but to petition

the Court for an order compelling Plaintiff to arbitrate her claims and stay all proceedings.




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I.     PLAINTIFF ELECTRONICALLY SIGNED THE MUTUAL ARBITRATION
       ACKNOWLEDGMENT

       Defendant uses recruiting technology called Jobalign as an applicant tracking system

during the hiring process. Applicants are required to provide contact information including an

email address that is entered into the system. (See Rawlins Decl. ¶ 6.)

       Defendant contracts with a third-party vendor, Sterling Talent Solutions (“Sterling”), to

perform employment background checks on candidates and to manage the onboarding process for

employment. When an applicant applies for a job with Defendant, the applicant is required to

provide a contact email address. The applicant is also required to create a password known only

to the applicant. Once Defendant has interviewed and offered the applicant a position, Defendant

electronically provides pertinent information to Sterling including the applicant’s email address.

This electronic transmission to Sterling occurs when a recruiter or hiring manager changes the

candidate status to “hired” and clicks the “onboard” button in Jobalign. (See Rawlins Decl. ¶ 7.)

       Sterling sends the applicant (now candidate) an instructional email providing a username

and temporary password together with a link to the ABM Candidate Portal. The process is as

follows:

       1.      The first step in the process requires the candidate to click on the “Get Started” link

in the email that directs the candidate to the ABM Candidate Portal. Once directed, the candidate

must enter his/her Username and Password into the browser. This provides access to the ABM

Candidate Portal.

       2.      The candidate’s attention is drawn to his/her inbox where he/she is tasked to

“Review and Sign Job Offer Confirmation” and instructed to click on the “Launch Task” link.

This link pulls up an electronic Job Offer Confirmation document containing information about




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the candidate, the position, job site location, rate of pay, start/hire date and pay frequency. The

candidate is instructed to review the information on the Job Offer Confirmation.

       3.      The candidate is provided information on e-signing documents. The candidate is

asked to consent to use an electronic signature to electronically sign various forms. The candidate

is provided with a Consent and Notice Regarding Electronic Signature which reads, in pertinent

part, as follows:

            By clicking the “I agree to use an electronic signature” button, you agree to
            electronically sign the following forms. You agree your electronic
            signature is the legal equivalent of your manual signature. You further
            agree that your use of the keypad, mouse, or other device to select an item,
            button, icon or similar act/action, constitutes your signature as if actually
            signed by you in writing. You also agree that no certification authority or
            other third-party verification is necessary to validate your electronic
            signature and that the lack of such certification or third-party verification
            will not in any way affect the enforceability of your electronic signature.

                                                 …

            If you decline to use an electronic signature by clicking the “I Decline to
            Use an Electronic Signature” button, you will be asked to enter your reason
            for declining.

            You should contact your employer to manually sign your document. After
            authorizing the use of your electronic signature, you may still withdraw
            your consent. To do so, you must contact the employer for their withdrawal
            procedures, and to understand any consequences or fees which may apply.



       4.      There are two links for the candidate to choose: One provides “I Agree to Use an

Electronic Signature,” and the other states “I Decline to Use an Electronic Signature.” (See Rawlins

Decl. ¶ 9.) If the candidate selects the “I Decline to Use an Electronic Signature” button, the

candidate is asked to provide a reason for declining. The process ends at this point and the

candidate cannot move forward with electronic onboarding through Sterling. The candidate may

then contact ABM to manually sign the documents as an alternative to electronic signing; however,




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if the candidate chooses not to sign the documents manually or electronically, he or she may not

continue the application process. (See Rawlins Decl. ¶ 9.)

       5.      If the candidate has agreed to use an electronic signature, the candidate is given the

choice of a button to select a signature or a button to draw an electronic signature. In the event the

candidate selects the “Signature” button, an electronic version of their name and of their initials

appears in cursive. This is not the same as a facsimile of the usual signature that the candidate

uses. In the event the candidate selects the “Or draw your signature” button, the candidate has the

option to draw their own electronic signature and initials to use going forward. After selecting

their preferred electronic signature format, the candidate is requested to click on the “Proceed to

e-Sign Preview” button. (See Rawlins Decl. ¶ 10.)

       6.      The candidate will then receive an email from the Candidate Portal. The email

advises the candidate that as part of their application with ABM, a pre-employment screening is

required. The email directs the candidate to review their rights under the Fair Credit Reporting

Act by visiting a link that is provided in the email:

            http://www.talentwise.com/fcra/Files/FCRA_Summarv_of_Rights.pdf.

       It also instructs the candidate to visit the following URL link to access the Applicant

Certification and Authorization form to proceed to the pre-employment screening.

https://portal.talentwise.com/33ff5abc58b/ptl/dashboardphp?&Sender=16808979&Email=Ron.S

prings ABM%40vahoo.com&OverrideCandidatelD=5155181. (See Rawlins Decl. ¶ 11.)

       7.      Following successful completion of the background check, the candidate is

considered an employee and is sent an email by Sterling from the Candidate Portal. The employee

is instructed to click the “Get Started” button to sign into the Candidate Portal and tasked to

complete and sign onboarding acknowledgement forms. (See Rawlins Decl. ¶ 12.)




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       8.      The Candidate Portal provides a list of electronic documents and policies that must

be opened, reviewed in their entirety, completed, and, if agreed, signed in the following order:

       •    Form CC-305; EEO Form; Emergency Contact; W4; Biometric Clock; Policy

            Employee Notice and Consent Form; Direct Deposit Authorization; Pay Method

            Selection;   Health   Care   Exchange     Notice   Acknowledgment;      Wage    Policy

            Acknowledgment; Employee (Service) Handbook Acknowledgement; Mutual

            Arbitration Agreement Acknowledgment; Employee Instructions, Information, and

            Work Rules Acknowledgment; Drug-Free Workplace Policy Acknowledgment;

            Customer Confidentiality Acknowledgement; Policy Against Harassment in the

            Workplace Acknowledgement; Prior Employer Information; Acknowledgement; Code

            of Business Conduct (COBC). (See Rawlins Decl. ¶ 13.)

The Candidates are given unlimited time to read and review the policies and are not monitored by

any individuals.

       9.      Finally, the employee is asked to regularly check their email account for emails

from the Candidate Portal. If employees have any difficulty completing this process, they are

instructed to contact the Hiring Manager or HR Department. This concludes the electronic

onboarding process through Sterling and at this point the employee has been onboarded. (See

Rawlins Decl. ¶ 14.)

       As the Human Resources Director for ABM over the location where Plaintiff worked in

Atlanta, Georgia, Rhonda Rawlins has electronic access to the records Sterling maintains relating

to the employment of Plaintiff. (See Rawlins Decl. ¶ 15.)

       Upon accessing those records, Ms. Rawlins reviewed the electronic Log Entry and verified

that Plaintiff’s onboarding followed this process. Ms. Rawlins viewed that on August 16, 2018 at




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8:49 a.m. p.m., a Job Offer Confirmation initial notification email was sent to Plaintiff Aurelia

Mancilla. The Log Entry also reflects that Ms. Mancilla accessed the Sterling Candidate Portal on

August 31, 2019. (See Rawlins Decl. ¶ 16, Ex. C). The Log Entry reflects that the following

documents concerning Ms. Mancilla were electronically signed by Ms. Mancilla on August 31,

2019:

        •   ABM Biometric Privacy Employee Notice and Consent Form; Code of Business

            Conduct; Customer Confidentiality; Drug-Free Workplace Policy Agreement;

        •   Emergency Contact Information; Employee Instructions, Information and Work Rules;

            Service Worker Employee Policy Handbook Acknowledgment; Employee’s

            Withholding Allowance Certificate;

        •   Employment Eligibility Verification; Form W-4 Confirmation for California; Health

            Care Exchange Notices; Mutual Arbitration Agreement Acknowledgment;

        •   Pay   Method    Selection;   Policy    Against   Harassment   in   the   Workplace;

            Acknowledgement Regarding Prior Employer Information; and Wage Policy.

(See Rawlins Decl. ¶ 17, Ex. C.)

        Thus, the evidence shows that ABM’s standard onboarding process provided by Sterling

was followed by Plaintiff. The email addresses she provided for communication with Sterling and

her use of the password she created for access to the Sterling Candidate Portal provided her with

the requisite electronic security.    And, in completing this onboarding process, Plaintiff

electronically signed the Mutual Arbitration Agreement on August 31.




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                                           ARGUMENT

I.     THE COURT SHOULD COMPEL ARBITRATION AND/OR STAY THIS
       ACTION PENDING ARBITRATION

       A.      The Federal Arbitration Act Mandates the Enforcement of Plaintiff’s
               Arbitration Agreement

       The Federal Arbitration Act (“FAA”) requires courts to enforce arbitration agreements,

reflecting the federal policy strongly favoring arbitration as an alternative dispute resolution

process. 9 U.S.C. § 1, et seq. See also Gold v. Deutsche Aktiengesellschaft, 365 F.3d 144, 147-

48 (2d Cir. 2004); Vera v. Saks & Co., 335 F.3d 109, 116 (2d Cir. 2003) (per curiam); Collins &

Aikman Prods. Co. v. Bldg. Sys., 58 F.3d 16, 19 (2d Cir. 1995). The Act “leaves no place for the

exercise of discretion by a district court, but instead mandates that district courts shall direct the

parties to proceed [in] arbitration on issues as to which an arbitration agreement has been signed.”

Genesco, Inc. v. T. Kakiuchi & Co., 815 F.2d 840, 844 (2d Cir. 1987) (emphasis in original).

Indeed, it is the intent of Congress “to move the parties to an arbitrable dispute out of court and

into arbitration as quickly and easily as possible.” Moses H. Cone Memorial Hosp. v. Mercury

Constr. Corp., 460 U.S. 1, 22 (1983); Stolt-Nielsen S. A. v. Animal Feeds Int’l Corp., 559 U.S.

662, 682 (2010) (“we have said on numerous occasions that the central or ‘primary’ purpose of

the FAA is to ensure that ‘private agreements to arbitrate are enforced according to their terms’”)

(internal citations omitted).

       Further, the determination of whether a dispute is arbitrable under the FAA consists of two

prongs: “(1) whether there exists a valid agreement to arbitrate at all under the contract in

question…and if so, (2) whether the particular dispute sought to be arbitrated falls within the scope

of the arbitration agreement.” Hartford Acc. & Indem. Co. v. Swiss Reinsurance Am. Corp., 246

F.3d 219, 226 (2d Cir. 2001). To find a valid agreement to arbitrate, a court must apply the

“generally accepted principles of contract law.” Genesco, Inc. v. T. Kakiuchi & Co., supra at 845.



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       B.      Second Circuit Precedent Dictates the Enforcement of Plaintiff’s Arbitration
               Agreement

       Similarly, the Second Circuit has articulated four criteria for determining whether to

compel arbitration: (1) whether there is an agreement to arbitrate; (2) whether the asserted claims

fall within the scope of the arbitration agreement; (3) if federal statutory claims are at issue,

whether Congress intended those claims to be non-arbitrable; and (4) if only some of the claims

are subject to arbitration, whether to stay the balance of the proceedings pending arbitration.

Genesco, 815 F.2d at 844-52. See also Oldroyd v. Elmira Sav. Bank, 134 F.3d 72, 75-76 (2d Cir.

1998). It is well settled that Congress intends Title VII claims to be arbitrable. See, e.g., 14 Penn

Plaza LLC v. Pyett, 556 U.S.247, 261 (2009).

       In this case, both the FAA and the Second Circuit’s criteria for arbitrability are easily met

because: (1) there can be no doubt that the parties executed an arbitration agreement; (2) the

Agreement clearly provides that the parties agree to arbitrate all claims arising out of Plaintiff’s

employment with ABM, including claims of discrimination and harassment - the very same claims

Plaintiff asserts in this action; (3) claims brought under Section Title VII and the common law are

arbitrable; and (4) there are no other non-arbitrable claims in this action. Therefore, the Court

must dismiss or stay Plaintiff’s claims in favor of arbitration. See 9 U.S.C. §§ 3, 4. See also

WorldCrisa Corp. v. Armstrong, 129 F.3d 71, 74 (2d Cir. 1997) (district court “must stay

proceedings if satisfied that the parties have agreed in writing to arbitrate an issue or issues

underlying the district court proceeding.”).

               1.      The Parties Entered Into A Valid Arbitration Agreement

       As discussed, Plaintiff expressly and unequivocally agreed, with her electronic signature,

to arbitrate all claims arising out of her employment including claims of harassment. (See Rawlins

Decl., Ex. B.) Therefore, it cannot be disputed that there was a valid agreement to arbitrate




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between Plaintiff and ABM. See Oldroyd, 134 F.3d at 74-76 (arbitration clause contained in

employee agreement constitutes valid agreement to arbitrate); Martin v. SCI Mgmt. L.P., 296 F.

Supp. 2d 462, 466-67 (S.D.N.Y. 2003); Gonder v. Dollar Tree Stores, Inc., 144 F. Supp. 3d 522,

530 (S.D.N.Y. 2015).

               2.      Plaintiff’s Claims Fall Within the Scope of Her Arbitration Agreement

       The FAA “is an expression of a strong federal policy favoring arbitration as an alternative

means of dispute resolution.” JLM Indus., Inc. v. Stolt-Nielsen SA, 387 F.3d 163, 171 (2d Cir.

2004) (citation omitted). ). “[U]nder the FAA, ‘any doubts concerning the scope of arbitrable

issues should be resolved in favor of arbitration, whether the problem is the construction of the

contract language itself or an allegation of waiver, delay, or a like defense to arbitrability.’” Id at

171 (quoting Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24-25, 103 S.

Ct. 927, 941, 74 L.Ed.2d 765, 785 (1983)).

       Here, there can be no dispute that Plaintiff agreed in writing to arbitrate her claims. By

signing the Agreement, Plaintiff agreed to submit “any claim . . . that arises between [Mancilla]

and [ABM and] its . . . employees. . .” to final and binding arbitration. (See Rawlins Decl. Ex. A.)

The Agreement expressly states:

           Final and binding arbitration before a single, neutral arbitrator shall be the
           exclusive remedy for any “Covered Claim” … . A “Covered Claim” is any
           claim (except a claim that by law is non-arbitrable) that arises between me
           and the Company, its past, present, and future: officers, directors and/or
           employees, including but not limited to claims arising and/or relating in any
           way to my hiring, my employment with, and/or the severance of my
           employment with, the Company.

(Id.) (Emphasis in original.) As noted, the Agreement excepts from binding arbitration claims not

subject to arbitration by law, such as a claim or charge with the NLRB, the Workers’ Compensation

Appeals Board, or the Unemployment Insurance Appeals Board, and disputes covered by a

collective bargaining agreement. (Id.) No such claims have been alleged in this case.



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        Here, Plaintiff’s Complaint is based entirely on her employment with ABM. Specifically,

Plaintiff alleges while working for ABM her “supervisor” directed her to follow him to an area

where he said cleaning work was required and she was raped by her “supervisor”. (See Complaint
               2
¶¶ 19 – 28.)       Based on these allegations, the Complaint states common law claims for reckless

and careless failure to provide safe working conditions; reckless and careless hiring, supervision

and/or retention; assault and battery; false imprisonment; negligent infliction of emotional distress;

intentional infliction of emotional distress and sexual harassment in violation of Title VII.

        All of Plaintiff’s claims against the individual Defendants, Scott Salmirs and Eddie Sanders

are arbitrable because they are arising out of her employment, intertwined with her claims against

ABM and because they are covered by the arbitration agreement. And, the Mutual Arbitration

Agreement further contemplates that it covers claims against both an ABM entity and its

employees. See Boyum v. Horizon Condo., No. 05 CIV. 4801 TPG, 2007 WL 576052, at *4

(S.D.N.Y. Feb. 22, 2007) (granting Defendant’s motion and finding that plaintiff’s proper remedy

was arbitration of Plaintiff’s causes of action including intentional infliction of emotional distress);

Chamois v. Countrywide Home Loans, No. 02 CIV. 9553 (MBM), 2003 WL 23022033, at *1

(S.D.N.Y. Dec. 29, 2003) (granting Defendant’s motion to compel arbitration including Title VII

and common law claims).

        In addition, the Second Circuit has held that arbitration agreements require arbitration of

claims against employees such as Sanders where the claims are intertwined with arbitrable claims

against signatories. See Ragone v. Atlantic Video, 595 F.3d 115, 126-27 (2d Cir. 2010). There,

the Second Circuit Court of Appeals affirmed the district court’s grant of defendants’ motion to




2
  We are citing to the complaint for purposes of this motion only and expressly deny all factual
allegations and wrongdoing.



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dismiss the complaint and compel arbitration of plaintiff’s sexual harassment claim where one of

the defendants, ESPN, was not a signatory to plaintiff’s arbitration agreement with the other

defendant, Atlantic Video (“AVI”).        The complaint’s “claims of unlawful harassment and

retaliation against AVI and ESPN rely on the concerted actions of both defendants and are

therefore substantially interdependent.” Id. at 119. The complaint alleged that ESPN personnel

harassed the plaintiff, supervised her and witnessed and condoned the harassment. The court held

that non-signatory ESPN could compel plaintiff to arbitrate her dispute with ESPN. The court

found there was “no question that the subject matter of the dispute between Ragone and AVI is

factually intertwined with the dispute between Ragone and ESPN. It is, in fact, the same dispute:

whether or not Ragone was subjected to acts of sexual harassment which were condoned by

supervisory personnel at AVI and ESPN.” Id. at 128.

        Similarly, here Plaintiff’s claims against ABM and Sanders are factually intertwined.

Plaintiff is alleging, although it is expressly denied, that Sanders is an agent of ABM “with

authority delegated from ABM to supervise Plaintiff”. (See Compl ¶ 16.) The Agreement makes

clear that it applies to Plaintiff’s claims in that it states it applies to “any claim … that arises

between [Plaintiff] and [ABM and] its … employees … including but not limited to claims

arising [from Plaintiff’s employment]” (emphasis added). Accordingly, all of Plaintiff’s claims

are subject to arbitration.

                3.      Plaintiff’s Statutory Claims Are Arbitrable

        Plaintiff’s claims of harassment under Title VII is arbitrable. See, e.g., Lawrence v. Sol G.

Atlas Realty Co., 841 F.3d 81, 83 (2d Cir. 2016) (finding claims brought under Title VII, among

other statutes, may be subject to arbitration); Pitter v. Prudential Life Ins. Co. of Am., 906 F. Supp.

130 (E.D.N.Y. 1995) (granting motion to stay and compel arbitration of plaintiff’s complaint,

including claims brought under Title VII subject to arbitration). Recently, Title VII harassment



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claims have specifically been found to be arbitrable by the Southern District of New York. In Latif

v. Morgan Stanley & Co. LLC, No. 18-cv-11528, 2019 WL 2610985, at * 3-4 (S.D.N.Y. June 26,

2019), the Court held that N.Y. C.P.L.R. § 7515 (“§ 7515”), which prohibits mandatory arbitration

clauses for sexual harassment claims “[e]xcept where inconsistent with federal law,” is indeed

inconsistent with federal law, specifically the Federal Arbitration Act, 9 U.S.C. § 1, et seq.

(“FAA”), and thus inapplicable by its own terms. Accordingly, the current state of the law allows

for the arbitrability of Title VII sexual harassment claims and all of Plaintiff’s statutory claims are

clearly subject to arbitration.

                4.       All of Plaintiff’s Claims Are Arbitrable

        The fourth part of the Second Circuit’s inquiry, i.e., whether non-arbitrable claims should

be stayed pending arbitration, is inapplicable here because all of Plaintiff’s claims are arbitrable.

See Martin, 296 F. Supp. 2d at 467 (“Because all of the plaintiff’s claims are arbitrable, it is not

necessary to determine whether any non-arbitrable claims should be stayed pending the outcome

of the arbitration.”).

        While Plaintiff may argue that her Title VII harassment claim is not arbitrable, Plaintiff’s

argument would be meritless because the Agreement expressly states that “the arbitrator shall

apply the substantive law …. of the state in which the Covered Claims arose, or federal law, or

both…” and Title VII claims are arbitrable under Georgia law. 3 See Albertson v. Art Inst. of


3
   Similar to New York law, under Georgia law to determine whether arbitration should be
compelled, the court assesses whether: (1) there is a valid written agreement to arbitrate; (2) the
issue sought to be arbitrated is arbitrable under the agreement; and (3) the party asserting the claims
has failed or refused to arbitrate the claims. Lomax v. Woodmen of the World Life Ins. Soc’y, 228
F. Supp. 2d 1360, 1362 (N.D. Ga. 2002). Under Georgia contract law, “[a] definite offer and
complete acceptance, for consideration, create a binding contract.” Moreno v. Strickland, 567
S.E.2d 90, 92 (Ga. Ct. App. 2002). As the Eleventh Circuit has noted, “[t]o satisfy the
consideration requirement under Georgia law, an accepting party to a contract can either tender
bargained-for performance or make a mutual promise.” Lambert v. Austin Ind., 544 F.3d 1192,
1195 (11th Cir. 2008). The parties to the Arbitration Agreement here made mutual promises to



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Atlanta, No. 1:16-CV-03922 WSDRGV, 2017 WL 9474223, at *1 (N.D. Ga. Mar. 23, 2017),

report and recommendation adopted, No. 1:16-CV-3922-WSD, 2017 WL 1361293 (N.D. Ga. Apr.

14, 2017) (granting motion to compel arbitration involving Title VII discrimination and retaliation

claim); Sherrard v. Macy’s System and Technology Inc., 724 Fed. App’x. 736, 739-741 (11th Cir.

2018) (affirming Northern District of Georgia’s court order to compel arbitration of Title VII

discrimination claims); Royal v. CEC Entertainment, Inc., No. 4:18-cv-302, 2019 WL 2252151,

at *4-5 (S.D. Ga. May 24, 2019) (granting motion to compel arbitration involving Title VII claims).

       C.      There Has Been No Waiver of the Arbitration Agreement

       The FAA further requires a court to determine whether an arbitration agreement has been

waived and is thereby unenforceable. See Doctor’s Assocs., Inc. v. Distajo, 66 F.3d 438, 456 (2d

Cir. 1995) (describing the waiver defense as a “statutorily mandated inquiry in [9 U.S.C.] § 3

cases”). “[A]ny doubts concerning whether there has been a waiver are resolved in favor of

arbitration. Louis Dreyfus Negoce S.A. v. Blystad Shipping & Trading Inc., 252 F.3d 218, 229 (2d

Cir. 2001). While there is no bright line rule applied to a waiver determination, three factors are

considered: “(1) the time elapsed from when the litigation was commenced until the request for

arbitration; (2) the amount of litigation to date, including motion practice and discovery; and (3)

proof of prejudice.” Id. As the facts will show, there has been no waiver of the arbitration

agreement by ABM.

       First, virtually no time has passed between Plaintiff’s initiation of the litigation and ABM’s

motion to compel arbitration; in fact, it is the first action ABM has taken after removing this action

from State Court. Second, there has been no other litigation activity to date in either the State

Court Action or this federal action. Third, Plaintiff suffers no prejudice by arbitrating her claims.


submit all disputes to binding arbitration in Georgia. Accordingly, even under Georgia law,
Plaintiff’s claims must be arbitrated.



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No costly discovery has taken place and ABM has promptly sought the enforcement of the

Agreement. On February 4, 10, 11, 12, and 13, 2020, prior to bringing this motion, ABM’s counsel

sent numerous emails to Plaintiff’s counsel requesting that Plaintiff review the Agreement and

stipulate to arbitration. (See Benson Decl. Ex. C) Plaintiff’s counsel ultimately responded stating

that Defendants would need to make a motion. (Id. at Ex. C)

       Accordingly, ABM has not waived its right under the Agreement and Plaintiff is similarly

bound to its terms—that Plaintiff must find relief from an arbitrator, and not this Court.

       D.      The Court Should Dismiss Plaintiff’s Complaint Without Prejudice to Her
               Ability to Pursue Such Claims In Arbitration

       Courts in this Circuit consistently dismiss complaints that are subject to an arbitration

agreement. See, e.g., Brown v. St. Paul Travelers Co., 331 Fed. Appx. 68, 2009, 2009 WL

1740573, at *70 (2d Cir. June 19, 2009) (“Defendant’s motion to dismiss [employee’s] complaint

and to compel arbitration was properly granted by the District Court”); Henry v. Turner Const.

Co., No. 09 Civ. 9366(SAS), 2010 WL 2399423, *4 (S.D.N.Y. Jun. 14, 2010) (granting motion to

dismiss complaint and compel arbitration); Litvinov v. UnitedHealth Group, Inc., 2014 WL

1054394, at *3 (S.D.N.Y. Mar. 11, 2014) (compelling arbitration and dismissing the complaint);

Robinson v. Entm’t One US LP, No. 14-CV-1203 AJN, 2015 WL 3486119, at *1 (S.D.N.Y. June

2, 2015) (dismissing employment discrimination claims in favor of arbitration based upon the

arbitration agreement); Safra Sec., LLC v. Gonzalez, 764 F. App’x 125 (2d Cir. 2019) (affirming

the District Court’s decision which compelled arbitration and dismissed the complaint).

       Here, all of Plaintiff’s claims are subject to arbitration and, accordingly, this Court should

dismiss the Complaint without prejudice to Plaintiff’s ability to pursue her claims in arbitration.




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       E.      The Court Should Stay This Action Pending Arbitration If the Action Is Not
               Subject to Dismissal

       Alternatively, if this Court does not dismiss Plaintiff’s Complaint outright, the Court

should stay the action. 9 U.S.C. §§ 3, 4. Courts in this Circuit regularly stay complaints that are

subject to an arbitration agreement. See, e.g., Moton v. Maplebear Inc., 2016 U.S. Dist. LEXIS

17643, at *25-26 (S.D.N.Y. Feb. 9, 2016) (staying action pending arbitration); Factor v. Societe

Generale N. Am., Inc., 2006 U.S. Dist. LEXIS 32565, at *8-9 (S.D.N.Y. May 24, 2006) (granting

motion to compel and staying action pending arbitration). See also, Katz v. Cellco P’ship, 794

F.3d 341 (2d Cir. 2015) (“In sum, while we recognize the impetus for a rule permitting dismissal,

we conclude that the text, structure, and underlying policy of the FAA mandate a stay of

proceedings when all of the claims in an action have been referred to arbitration and a stay

requested).

                                          CONCLUSION

       In sum, Defendant ABM has established that: (1) Plaintiff entered into a valid arbitration

agreement; (2) her claims clearly fall within the scope of that agreement; (3) her claims are

arbitrable; and (4) there has been no waiver of the arbitration agreement. Therefore, ABM

respectfully request that the Court dismiss or stay this action in its entirety and compel Plaintiff to

submit her claims to arbitration, and grant Defendant such other or further relief as the Court deems

appropriate.




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Date: February 21, 2020
      New York, New York
                                      /s/ Craig R. Benson
                                      Craig R. Benson
                                      Ivie A. Serioux
                                      LITTLER MENDELSON, P.C.
                                      900 Third Avenue
                                      New York, NY 10022.3298
                                      212.583.9600

                                      Attorneys for Defendants
                                        ABM Industries, Incorporated; ABM
                                        Industries, Incorporated, d/b/a ABM
                                        Janitorial Services, Inc., ABM Industries,
                                        Incorporated d/b/a ABM Onsite Services,
                                        Inc., and Scott Salmirs




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